     Case 3:24-cv-00167-TCB   Document 22   Filed 03/12/25   Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION



L. ROCHELLE BANKHEAD,

      Plaintiff,
                                        CIVIL ACTION FILE
v.
                                        NUMBER 3:24-cv-167-TCB
AMAZON INDIA PRIVATE
LIMITED, et al.,

      Defendants.



                               ORDER

     This case comes before the Court on Plaintiff’s motion [16] to

correct the docket. Plaintiff asks the Court to direct the Clerk to amend

the docket so that all references to Defendant “Amazon India Private

Limited” are changed to “Amazon Data Services India Private Limited.”

Defendants have not filed any opposition; in fact, in their motion to

dismiss, they note that the correct entity name should be “Amazon Data

Services India Private Limited.” See [15] at 1.
     Case 3:24-cv-00167-TCB   Document 22   Filed 03/12/25   Page 2 of 2




     For good cause shown, Plaintiff’s motion [16] is granted. The Clerk

is directed to update the name of Defendant Amazon India Private

Limited to Amazon Data Services India Private Limited.

     IT IS SO ORDERED this 12th day of March, 2025.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  Chief United States District Judge




                                    2
